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16                       UNITED STATES DISTRICT COURT
17                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18   JENNY LISETTE FLORES; et al.,            )   Case No. CV 85-4544
                                              )
19
               Plaintiffs,                    )   DEFENDANTS’ NOTICE OF
20                                            )   PUBLICATION OF REGULATIONS
                    v.                        )
21
                                              )   Hearing Date: n/a
22   WILLIAM P. BARR, Attorney                )   Time: n/a
     General of the United States; et al.,1   )   Dept: 350 West 1st Street, Los Angeles,
23
                                              )   CA, 90012, Courtroom 8C, 8th Floor
24             Defendants.                    )
                                              )
25
                                              )
26
     1
         See Fed. R. Civ. P. 25(d).
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 1         In September 2018, the U.S. Department of Homeland Security (DHS) and
 2
     U.S. Department of Health and Human Services (HHS) published proposed
 3

 4   regulations implementing the substantive terms of the Flores Settlement Agreement

 5   (“Agreement”). Apprehension, Processing, Care and Custody of Alien Minors and
 6
     Unaccompanied Alien Children, 83 Fed. Reg. 45,486–45,534 (2018). Plaintiffs in
 7

 8
     this case then filed a motion seeking to enjoin those proposed regulations, and the

 9   government opposed.
10
           On November 21, 2019, this Court vacated Plaintiffs’ motion, and ordered
11

12
     that upon issuing final regulations, “Defendants shall forthwith file a notice to that

13   effect[.]” ECF No. 525 at 2, ¶2. In accordance with the Court’s order, DHS and HHS
14
     hereby notify Plaintiffs and the Court that we anticipate that final regulations
15
     implementing the substantive terms of the Agreement will be posted for public
16

17   inspection in the Federal Register on August 22, 2019, and are expected to be
18
     published on August 23, 2019. Based on those anticipated dates, under this Court’s
19
     order, supplemental briefing addressing the termination of the Agreement would be
20

21   due on August 30, 2019, and the Defendants will be conferring with Plaintiffs
22
     regarding the scope and timing of those filings. See ECF No. 525 at 2, ¶3.
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24

25   DATED:       August 21, 2019           Respectfully submitted,
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                                            JOSEPH H. HUNT
                                               1
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 4                                    /s/ August E. Flentje
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17                                    Attorneys for Defendants
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 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on August 21, 2019, I served the foregoing pleading on

 4   all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7

 8

 9                                               /s/ August E. Flentje
                                                 AUGUST E. FLENTJE
10                                               U.S. Department of Justice
11
                                                 Attorney for Defendants
12

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